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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

UNITED STATES OF AMERICA                                 No. 3:24-CR-00250-S

v.

KEITH J. GRAY (01)


                          UNITED STATES OF AMERICA’S EXHIBIT LIST


                                        PRODUCTION                       DATE
GX              DESCRIPTION
                                            BATES                    ADMIT   N/ADM
                          Medicare Documents and Claims Data
     Kingdom Health Laboratory LLC    DOJGRAYS_00051609
1    Medicare Claims Data

      Kingdom Health Laboratory LLC        DOJGRAYS_00051776 –
     Medicare Enrollment Application        DOJGRAYS_00051895
2
     (CMS-855B)
   Business Record Affidavits –            DOJGRAYS_00051610 -
   Qlarant and Novitas – GX 1 and 2        DOJGRAYS_00051611;
2A                                         DOJGRAYS_00051615 -
                                           DOJGRAYS_00051616
     Axis Professional Labs LLC            DOJGRAYS_00051177
3    Medicare Claims Data
   Business Record Affidavit – Qlarant      DOJGRAYS_00051175 –
3A – GX 3                                    DOJGRAYS_00051176

     Axis Professional Labs LLC             DOJGRAYS_00051002 –
     Medicare Enrollment Application         DOJGRAYS_00051011
4
     (CMS-855B)
   Medicare Enrollment Application – DOJGRAYS_00051029 -
4A                                     DOJGRAYS_00051032
   Web Certification Statement
   Business Record Affidavit –        DOJGRAYS_00051033 –
4B                                     DOJGRAYS_00051034
   Novitas – GX 4 and 4A
   Parameno TDS LLC Medicare          DOJGRAYS_00052329 –
 5 Enrollment Application (CMS-855B)   DOJGRAYS_00052453

   Business Record Affidavit – Novitas      DOJGRAYS_00052323 –
5A – GX 5                                    DOJGRAYS_00052324


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                                              PRODUCTION                  DATE
GX               DESCRIPTION
                                                 BATES                ADMIT   N/ADM
      Local Coverage Determination           DOJGRAYS_00054687 –
      (LCD) – Biomarkers Overview             DOJGRAYS_00054708
 6
      (L35062) (For services performed on
      or after 07/01/2020)
      Local Coverage Determination           DOJGRAYS_00054676 –
      (LCD) – Genetic Testing for             DOJGRAYS_00054686
 7    Cardiovascular Disease (L39082)
      (For services performed on or after
      1/30/2022)
      LCD Reference Article – Billing and DOJGRAYS_00054669 –
      Coding: Genetic Testing for             DOJGRAYS_00054675
 8
      Cardiovascular Disease (A58795)
      (Original Effective Date 1/30/2022)
                                          Summary Charts
      Axis Professional Labs & Kingdom       DOJGRAYS_00054851
101   Health Labs Medicare Billed
      Amount for Matched Beneficiaries
      Axis Professional Labs & Kingdom       DOJGRAYS_00054852
102   Health Labs Medicare Paid Amount
      for Matched Beneficiaries
      Axis Professional Labs & Kingdom       DOJGRAYS_00054853
      Health Labs Medicare Billed and
103
      Paid Amounts for Matched
      Beneficiaries
      Axis Professional Labs & Kingdom       DOJGRAYS_00054854
104   Health Labs Medicare Billed and
      Paid Amount by Procedure Code
      Axis Professional Labs & Kingdom       DOJGRAYS_00054855
      Health Labs Medicare Paid Amount
105
      bv Number of Procedure Codes per
      Claim
      Example Claim 1                        DOJGRAYS_00054856
106
      Example Claim 2                        DOJGRAYS_00054857
107
      Accounts Reviewed                      DOJGRAYS_00054858
108
    Axis Professional Labs & Kingdom         DOJGRAYS_00054859
109 Health Labs Payments to American
    Health Screening
    Count 2: Wire Transfer from Axis         DOJGRAYS_00054860
                                                    –
110 Labs to American Health Screening        DOJGRAYS_00054862
    – January 29, 2021


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                                               PRODUCTION                 DATE
GX               DESCRIPTION
                                                  BATES               ADMIT   N/ADM
      Count 3: Wire Transfer from Axis        DOJGRAYS_00054863
111   Labs to American Health Screening              –
      – May 6, 2021                           DOJGRAYS_00054864
      Count 4: Wire Transfer from             DOJGRAYS_00054865
      Kingdom Health Labs to American                –
112                                           DOJGRAYS_00054866
      Health Screening – November 12,
      2021
      Count 5: Wire Transfer from             DOJGRAYS_00054867
      Kingdom Health Labs to American                –
113                                           DOJGRAYS_00054868
      Health Screening – December 23,
      2021
      Count 6: Wire Transfer from             DOJGRAYS_00054869
      Kingdom Health Labs to American                –
114                                           DOJGRAYS_00054870
      Health Screening – March 24, 2022

    Kingdom Health Labs – Medicare            DOJGRAYS_00054871
115
    Paid Amount
    Count 7: Payment to Texas Vehicle         DOJGRAYS_00054872
116 Exchange – February 28, 2022                     –
                                              DOJGRAYS_00054875
    Count 8: Payment to Texas Vehicle         DOJGRAYS_00054876
117 Exchange – March 4, 2022                         –
                                              DOJGRAYS_00054879
    Count 9: Payment to Sewell Lexus –        DOJGRAYS_00054880
118 June 16, 2022                                    –
                                              DOJGRAYS_00054883
      Cardiovascular Genetic Testing          DOJGRAYS_00054884
119
      Procedure Codes
      Demonstrative Flow Chart                DOJGRAYS_00054885
120
                                           Bank Records
201 Bank of America (“BoA”) Account          DOJGRAYS_00005564 –
    x2168 – Kingdom Health Laboratory        DOJGRAYS_00005655;
                                             DOJGRAYS_00008712 –
                                             DOJGRAYS_00008782;
                                             DOJGRAYS_00036100;
                                             DOJGRAYS_00042283 –
                                             DOJGRAYS_00042299;
                                             DOJGRAYS_00042351;
                                             DOJGRAYS_00043682;
                                             DOJGRAYS_00044011 –
                                             DOJGRAYS_00044016;
                                             DOJGRAYS_00044021 –
                                             DOJGRAYS_00044150;
                                             DOJGRAYS_00044187;
                                             DOJGRAYS_00048359 –
                                              DOJGRAYS_00049065
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                                             PRODUCTION                  DATE
GX              DESCRIPTION
                                                BATES                ADMIT   N/ADM
201A Business Record Affidavits – Bank of DOJGRAYS_00000003 –
     America – GX 201                     DOJGRAYS_00000005;
                                           DOJGRAYS_00043669
201B Count 4 – BoA Wire Transactions       DOJGRAYS_00005655
     x2168 including November 2021
201C Count 4 – BoA Statement x2168 –      DOJGRAYS_00044129 –
     November 2021                         DOJGRAYS_00044134

201D Count 5 – BoA Statement x2168 –       DOJGRAYS_00044117 –
    December 2021                           DOJGRAYS_00044128

201E Count 5 – BoA Wire Transactions       DOJGRAYS_00043682
     x2168 December 2021
201F Count 6 – BoA Statement x2168 –       DOJGRAYS_00044083 –
     March 2022                             DOJGRAYS_00044094

201G Count 6 – BoA Wire Transactions       DOJGRAYS_00036100
     x2168 including March 2022

202 Hancock Whitney Bank (“HWB”)           DOJGRAYS_00001686 –
    Account x6498 – Axis Professional      DOJGRAYS_00001733;
    Labs LLC                               DOJGRAYS_00001785 –
                                           DOJGRAYS_00001884;
                                           DOJGRAYS_00003610 –
                                            DOJGRAYS_00003612
                                           DOJGRAYS_00004298 –
                                            DOJGRAYS_00004435
                                           DOJGRAYS_00039457 –
                                           DOJGRAYS_00039517;
                                           DOJGRAYS_00042229 –
                                            DOJGRAYS_00042240
                                           DOJGRAYS_00046107 –
                                           DOJGRAYS_00046124;
                                           DOJGRAYS_00046913 –
                                            DOJGRAYS_00046921
202A Business Record Affidavits –          DOJGRAYS_00039272 ;
    Hancock Whitney Bank – GX 202          DOJGRAYS_00003741;
                                            DOJGRAYS_00046093
202B Count 2 – HWB Statement x6498 –       DOJGRAYS_00004342 –
    January 2021                            DOJGRAYS_00004347


202C Count 2 – HWB Wire Transaction        DOJGRAYS_00001807
    from Axis Professional Labs to
     United States’ Exhibit List—Page 4
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GX              DESCRIPTION
                                                BATES                ADMIT   N/ADM
     American Health Screening LLC –
     1/29/2021
202D Count 3 - HWB Statement x6498 –       DOJGRAYS_00004376 –
     May 2021                               DOJGRAYS_00004385

202E Count 3 – HWB Wire Transaction      DOJGRAYS_00001850
     from Axis Professional Labs to
     American Health Screening –
     5/6/2021
 203 Bank of the West (“BoW”) Account DOJGRAYS_00028671 –
     x6377 – American Health Screening DOJGRAYS_00028817;
     LLC                                DOJGRAYS_00047981 –
                                         DOJGRAYS_00048295
203A Business Record Affidavits – BoW – DOJGRAYS_00047980;
     GX 203                              DOJGRAYS_00000010
203B Count 2 – BoW Statement January    DOJGRAYS_00028759 –
     2021                                DOJGRAYS_00028762

203C Count 3 – BoW Statement May 2021 DOJGRAYS_00028775 –
                                       DOJGRAYS_00028778

203D Count 4 – BoW Statement November DOJGRAYS_00028807 –
    2021                               DOJGRAYS_00028810

      Count 5 – BoW Statement December DOJGRAYS_00048273 –
203E 2021                               DOJGRAYS_00048278
203F Count 6 – BoW Statement March      DOJGRAYS_00048289 –
     2022                                DOJGRAYS_00048294
 204 Bank of America (“BoA”) Account    DOJGRAYS_00007742 –
     x7720 – KJ Gray Holdings LLC       DOJGRAYS_00008143;
                                        DOJGRAYS_00010234 –
                                         DOJGRAYS_00010353
204A Business Record Affidavits – BoA – DOJGRAYS_00000003 –
    GX 204                              DOJGRAYS_00000005;
                                         DOJGRAYS_00000073


204B “For Me” Payment from AHS to KJ       DOJGRAYS_00008017
    Gray Holdings – 2/1/2021 –
    $2,400.00
204C “For Me” Payment from AHS to KJ       DOJGRAYS_00008051
    Gray Holdings – May 6, 2021 –
    $21,200.00

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GX              DESCRIPTION
                                               BATES                 ADMIT   N/ADM
204D “For Me” Payment from AHS to KJ       DOJGRAYS_00008119
     Gray Holdings – November 12, 2021
     - $77,200.00
204E “For Me” Payment from AHS to KJ DOJGRAYS_00008132
     Gray Holdings – December 23, 2021
     - $78,200.00
204F “For Me” Payment from AHS to KJ      DOJGRAYS_00036061
     Gray Holdings – March 24, 2022 -
     $66,800
204G Count 7 – Check from KJ Gray        DOJGRAYS_00036101-
     Holdings to Texas Vehicle           DOJGRAYS_00036102
     Exchange – 2/26/2022 -
     $142,884.46
204H Count 8 – Check from KJ Gray       DOJGRAYS_00036103-
     Holdings to Texas Vehicle Exchange DOJGRAYS_00036104
     – 3/2/2022 - $119,274.68
204I Count 9 – Check from KJ Gray       DOJGRAYS_00036107-
     Holdings to Sewell Lexus –          DOJGRAYS_00036108
     6/11/2022 - $80,612.39
 205 Bank of America Account x6403 – DOJGRAYS_00007326 –
     Genesys Health Services LLC        DOJGRAYS_00007369;
                                        DOJGRAYS_00036100 –
                                        DOJGRAYS_00036100;
                                        DOJGRAYS_00042344 –
                                        DOJGRAYS_00042351;
                                        DOJGRAYS_00053753 –
                                         DOJGRAYS_00053780

205A Business Record Affidavits – Bank     DOJGRAYS_00000003 –
     of America – GX 205                    DOJGRAYS_00000005

206 JP Morgan Chase Bank Account       DOJGRAYS_00035226 –
    x2777 - Axis Professional Labs LLC DOJGRAYS_00035240;
                                       DOJGRAYS_00035247 –
                                       DOJGRAYS_00035250;
                                       DOJGRAYS_00035303 –
                                        DOJGRAYS_00035594

206A JP Morgan Chase Business Record       DOJGRAYS_00035208
    Affidavit – GX 206
207 JP Morgan Chase Bank Account           DOJGRAYS_00033058;
    x0212 - American Health Screening      DOJGRAYS_00033065 –
    LLC                                     DOJGRAYS_00033074

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                                             PRODUCTION                  DATE
GX              DESCRIPTION
                                                BATES                ADMIT   N/ADM
207A JP Morgan Chase Business Record
                                           DOJGRAYS_00033060
    Affidavit – GX 207A
                                            Emails
     2020.11.16 Email from Gizman          DOJGrayR_0000616133-
 301 Omar to Keith Gray -- Completed       DOJGrayR_0000616134
     Please DocuSign
     2020.11.16 Email from Gizman          DOJGrayR_0000616135-
301A Omar to Keith Gray Attachment –       DOJGrayR_0000616142
     Business Associate Agreement
     2020.11.16 Email from Gizman          DOJGrayR_0000616143-
301B Omar to Keith Gray Attachment –       DOJGrayR_0000616166
     Marketing Services Agreement
     2020.12.28 Email from Keith Gray      DOJGrayR_0000355280-
     to Richard Straight, Betsy            DOJGrayR_0000355281
 302
     Armstrong, et al -- RE Invoice 477
     American Health Screenings
     2021.01.16 Email from Scott           DOJGrayR_0000120613-
 303 Wohrman to Dave Heneghan --           DOJGrayR_0000120614
     AHS Sample Report 1.15.21
     2021.01.16 Email from Scott           DOJGrayR_0000120615
     Wohrman to Dave Heneghan --
303A AHS Sample Report 1.15.21 -
     Attachment
     2021.01.18 Email from Keith Gray      DOJGrayR_0000662865-
 304 to Betsy Armstrong - AHS Invoice      DOJGrayR_0000662866
     488
     2021.03.10 Email from Trevor Farr     DOJGrayR_0000524915
 305 to Keith Gray, CC Bryan Wright -
     FWD AHS
     2021.03.10 Email from Trevor Farr     DOJGrayR_0000524916-
305A to Keith Gray, CC Bryan Wright -      DOJGrayR_0000524939
     FWD AHS - Attachment
    2021.03.25 Email from Betsy            DOJGrayR_0000549442
306 Armstrong to Keith Gray - Loan
    Payment to AHS 03.25.2021
    2021.04.07 Email from Scott            DOJGrayR_0000163418
    Wohrman to Dave Heneghan -
307
    FWD Updated Report with
    Summary




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GX              DESCRIPTION
                                                BATES                ADMIT   N/ADM
     2021.04.07 Email from Scott           DOJGrayR_0000163419
     Wohrman to Dave Heneghan -
307A FWD Updated Report with
     Summary - Attachment
     2021.04.13 Email from Keith Gray      DOJGrayR_0000381700
 308 to Bryan Wright - March 2021
     Sales Bonus
     2021.04.13 Email from Keith Gray      DOJGrayR_0000381701
308A to Bryan Wright - March 2021
     Sales Bonus - Attachment
    2021.06.17 Email from Betsy            DOJGrayR_0000643260-
309 Armstrong to Keith Gray -- AHS         DOJGrayR_0000643261
    Loan Payment 6.17.2021
    2021.07.07 Email from Aaron            DOJGrayR_0000529273-
    Kaufman to Keith Gray, CC Ron          DOJGrayR_0000529274
310
    Pearl, Michael Thomas, et al -- RE
    Family History
    2021.08.06 Email from Keith Gray       DOJGrayR_0000661784-
311 to Joey Cienfuegos -- RE Medicare      DOJGrayR_0000661785
    LCD Question
    2021.08.12 Email from Betsy            DOJGrayR_0000590030-
    Armstrong to Keith Gray -- RE          DOJGrayR_0000590031
312 AHS Loan Payment 8.12.2021
    Corrected
    2021.08.19 Email from Betsy            DOJGrayR_0000594461-
313 Armstrong to Keith Gray -- RE          DOJGrayR_0000594462
    AHS Loan Payment 8.19.2021
     2021.09.21 Email from Scott           DOJGrayR_0000367718-
     Wohrman to Keith Gray, CC Bea         DOJGrayR_0000367719
 314 Moore, David Heneghan - RE
     Provider Complaint Possibly AHS
     2021.09.21 Email from Scott           DOJGrayR_0000367720
     Wohrman to Keith Gray, CC Bea
314A Moore, David Heneghan - RE
     Provider Complaint Possibly AHS -
     Attachment
    2021.10.01 Email from Scott            DOJGrayR_0000126148-
    Wohrman to Bea Moore, CC Keith         DOJGrayR_0000126149
315
    Gray and Dave Heneghan - RE
    Family Member Complaint 9.29.21



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                                             PRODUCTION                  DATE
GX              DESCRIPTION
                                                BATES                ADMIT   N/ADM
     2021.10.08 Email from Keith Gray      DOJGrayR_0000650480
     to Tara Allen, CC Bea Moore and
 316
     Corey Dudley - Cardio Corrections
     10.8.2021
     2021.10.13 Email from Corey           DOJGrayR_0000558114-
     Dudley to Keith Gray, CC Tara         DOJGrayR_0000558117
 317
     Allen, Bea Moore, Kristen Waller -
     - RE Cardio Corrections 10.8.2021
     2021.10.13 Email from Keith Gray      DOJGrayR_0000649623-
     to Tara Allen, CC Bea Moore,          DOJGrayR_0000649626
 318
     Corey Dudley, and Kristen Waller -
     - RE Cardio Corrections 10.8.2021
     2021.11.11 Email from Corey           DOJGrayR_0000563411
     Dudley to Keith Gray and Bea
 319
     Moore, CC Tara Allen - Medicare
     Molecular Billing Policy
     2021.11.11 Email from Corey           DOJGrayR_0000563412-
     Dudley to Keith Gray, CC Tara         DOJGrayR_0000563437
319A
     Allen -- Medicare Molecular
     Billing Policy - Attachment
     2021.11.23 Email from Corey           DOJGrayR_0000602530
 320 Dudley to Keith Gray - Updated
     PGx Article
     2021.11.23 Email from Corey          DOJGrayR_0000602531 –
320A Dudley to Keith Gray - Updated        DOJGrayR_0000602555
     PGx Article - Attachment
     2021.12.21 Email from Sneha Patel     DOJGrayR_0000536163-
     to Anil Virani, John Feeney,          DOJGrayR_0000536167
 321 Matthew Segedy, CC Keith Gray,
     Sneha Patel - Trends in Genetic
     Tests...
     2021.12.21 Email from Sneha Patel     DOJGrayR_0000536168-
     to Anil Virani, John Feeney,          DOJGrayR_0000536188
321A Matthew Segedy, CC Keith Gray,
     Sneha Patel - Trends in Genetic
     Tests... - Attachment
     2021.12.28 Email from Scott           DOJGrayR_0000314234
 322 Wohrman to Dave Heneghan - DOJ
     Stuff
     2021.12.28 Email from Scott          DOJGrayR_0000314235 –
322A Wohrman to Dave Heneghan - DOJ        DOJGrayR_0000314253
     Stuff - Attachment
     2021.12.31 KJ Gray Holdings LLC       DOJGrayR_0000003479-
 323 1120-S Income Tax Return 2021         DOJGrayR_0000003490

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GX               DESCRIPTION
                                                  BATES                 ADMIT   N/ADM
     2022.01.06 Email from Betsy             DOJGrayR_0000557149
 324 Armstrong to Keith Gray - RE AHS
     Loan Payment 01.06.2021
     2022.01.19 Email from Keith Gray        DOJGrayR_0000580879
     to Keith Gray - Article - Billing and
 325
     Coding Genetic Testing for
     Cardiovascular Disease (A58795)
     2022.02.08 Email from David             DOJGrayR_0000319472-
     Frankel to Scott Wohrman and            DOJGrayR_0000319473
 326
     Dave Heneghan - Attorney-Client
     Privilege Communication
     2022.02.10 Email from Keith Gray        DOJGrayR_0000657871-
     to Michael Singleton, CC Eddie          DOJGrayR_0000657873
 327 Geraghty and Mark Levine - 1%
     Owner of Kingdom Health
     Laboratory
     2022.02.11 Email from Michael           DOJGrayR_0000564804-
     Singleton to Keith Gray, CC Mark        DOJGrayR_0000564808
 328
     Levine - 1% Owner of Kingdom
     Health Laboratory
     2022.02.21 Email from Scott             DOJGrayR_0000112651-
     Wohrman to Dave Heneghan - FWD          DOJGrayR_0000112652
 329
     Operating Agreement for Kingdom
     Health Laboratory
     2022.02.21 Email from Scott             DOJGrayR_0000112653-
     Wohrman to Dave Heneghan - FWD          DOJGrayR_0000112708
329A
     Operating Agreement for Kingdom
     Health Laboratory - Attachment
     2022.03.13 Email from Power Bi          DOJGrayR_0000513758-
     Reports to Yesterday's Sample           DOJGrayR_0000513759
 330
     Volume Report - FW Yesterday's
     Sample Volume
     2022.03.13 Email from Power Bi          DOJGrayR_0000513760
     Reports to Yesterday's Sample
330A Volume Report - FW Yesterday's
     Sample Volume - Attachment


    2022.03.15 Email from Danielle Nies DOJGrayR_0000554535
    to Monique Nathan, Hannah
    Johnson, Betsy Armstrong, et al, CC
331 Keith Gray - Team Meeting Deck




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GX              DESCRIPTION
                                               BATES                 ADMIT   N/ADM
     2022.03.15 Email from Danielle Nies DOJGrayR_0000554536
     to Monique Nathan, Hannah
331A Johnson, Betsy Armstrong, et al, CC
     Keith Gray - Team Meeting Deck -
     Attachment
     2022.03.15 Email from Danielle Nies DOJGrayR_0000554537
     to Monique Nathan, Hannah
331B Johnson, Betsy Armstrong, et al, CC
     Keith Gray - Team Meeting Deck -
     Attachment
     2022.03.24 Email from Keith Gray     DOJGrayR_0000510878
 332 to Betsy Armstrong - AHS
     Distribution 3.24.2022
     2022.04.05 Email from Danielle Nies DOJGrayR_0000541575
     to Bryan Wright, Hannah Johnson,
 333
     and Monique Nathan, et al, CC Keith
     Gray re Team Meeting Deck
     2022.04.05 Email from Danielle Nies DOJGrayR_0000541576
     to Bryan Wright, Hannah Johnson,
333A and Monique Nathan, et al, CC Keith
     Gray re Team Meeting Deck -
     Attachment
     2022.04.05 Email from Danielle Nies DOJGrayR_0000541577
     to Bryan Wright, Hannah Johnson,
333B and Monique Nathan, et al, CC Keith
     Gray re Team Meeting Deck -
     Attachment
     2022.04.05 Email from Danielle Nies DOJGrayR_0000541578
     to Bryan Wright, Hannah Johnson,
333C and Monique Nathan, et al, CC Keith
     Gray re Team Meeting Deck -
     Attachment
     2022.04.26 Email from Bea Moore     DOJGrayR_0000530716-
     to Bryan Wright and Richard          DOJGrayR_0000530718
 334 Straight, CC Keith Gray and
     Margaret Flowers - AHS Invalid
     Medicare ID's
     2022.04.29 Email from Bea Moore     DOJGrayR_0000644422-
     to Keith Gray, Bryan Wright, and     DOJGrayR_0000644423
 335
     Richard Straight - 4.28 Final
     Numbers
     2022.05.09 Email from Betsy         DOJGrayR_0000527263 –
 336 Armstrong to Keith Gray - RE AHS DOJGrayR_0000527265
     Vs. KHL

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GX              DESCRIPTION
                                                BATES                ADMIT   N/ADM
      2022.07.18 Email from Richard        DOJGrayR_0000697428
 337 Straight to Brad Sewell - Parameno
      Genetics
      2022.07.18 Email from Richard       DOJGrayR_0000697429
337A Straight to Brad Sewell - Parameno
      Genetics - Attachment
      2022.07.27 Email from Bryan         DOJGrayR_0000599902
 338 Wright to Keith Gray - AHS
      Agreement
      2022.07.27 Email from Bryan        DOJGrayR_0000599903 –
338A Wright to Keith Gray - AHS           DOJGrayR_0000599910
      Agreement - Attachment
      2022.07.27 Email from Bryan        DOJGrayR_0000599911 –
338B Wright to Keith Gray - AHS           DOJGrayR_0000599934
      Agreement - Attachment
      2022.08.20 Email from Corey        DOJGrayR_0000562633-
 339 Dudley to Keith Gray - FW 1          DOJGrayR_0000562634
      Reports
      2022.08.20 Email from Corey         DOJGrayR_0000562635
339A Dudley to Keith Gray - FW 1
      Reports - Attachment
      2022.11.08 Email from Betsy         DOJGrayS_00053248 –
      Armstrong to Michael Singleton, CC DOJGrayS_00053251
 340
      Keith Gray and Mark Levine -- RE
      Revised Axis & KHL for AHS 1%
     2022.11.21 Email from Keith Gray to DOJGrayR_0000004696
 341 Mark Levine and Board Members --
     Axis Full Number for Distribution
      2022.11.22 Email from Michael      DOJGrayR_0000019276-
      Singleton to Brad Sewell, Trevor    DOJGrayR_0000019277
      Farr, Keith Gray, et al CC Mark
 342
      Levine -- Parameno KHH Tax
      Meeting
      2022.11.22 Email from Michael      DOJGrayR_0000019847-
      Singleton to Mark Levine - Tax      DOJGrayR_0000019848
 343 Meeting 2021 Summary and Action
      Items
      2022.11.28 Email from Keith Gray   DOJGrayR_0000019565-
      to Michael Singleton and Betsy      DOJGrayR_0000019567
      Armstrong, CC Trevor Farr, Brad
      Sewell, and Mark Levine - Reports
 344 Update




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                                             PRODUCTION                   DATE
GX              DESCRIPTION
                                                 BATES                ADMIT   N/ADM
    2022.12.02 Email from Brad Sewell      DOJGrayR_0000004708-
    to Michael Singleton, Betsy            DOJGrayR_0000004715
    Armstrong, and Keith Gray, CC
345
    Trevor Farr, Mark Levine, et al -
    Parameno KHH Tax Returns
    2022.12.31 KJ Gray Holdings LLC        DOJGrayR_0000003264-
    1120-S Income Tax Return 2022          DOJGrayR_0000003298
346
     2023.01.11 Email from Michael         DOJGrayR_0000018265-
     Singleton to Mark Levine - FW         DOJGrayR_0000018268
 347 AXIS Kingdom Health Parameno
     Returns
     2023.01.11 Email from Michael         DOJGrayR_0000018269
     Singleton to Mark Levine - FW
347A AXIS Kingdom Health Parameno
     Returns - Attachment
     2023.02.06 Email from Howard
                                           DOJGrayR_0000004737-
     Sewell to Michael Singleton, CC
 348 Brad Sewell and Mark Levine -         DOJGrayR_0000004747
     Transaction Structure
     2023.02.06 Email from Howard
                                           DOJGrayR_0000004748
     Sewell to Michael Singleton, CC
348A Brad Sewell and Mark Levine -
     Transaction Structure - Attachment

     2023.02.06 Email from Howard
                                         DOJGrayR_0000004749
     Sewell to Michael Singleton, CC
348B Brad Sewell and Mark Levine -
     Transaction Structure - Attachment
     2023.02.06 Email from Howard
                                         DOJGrayR_0000004750
     Sewell to Michael Singleton, CC
348C Brad Sewell and Mark Levine -
     Transaction Structure - Attachment
     2023.02.06 Email from Howard
                                         DOJGrayR_0000004751
     Sewell to Michael Singleton, CC
348D Brad Sewell and Mark Levine -
     Transaction Structure - Attachment
     2023.02.07 Email from Michael
                                         DOJGrayR_0000028613-
     Singleton to Betsy Armstrong, Keith
                                         DOJGrayR_0000028619
 349 Gray, CC Trevor Farr, Brad Sewell,
     et al - Update Address for Texas
     Comptroller
     2023.09.29 Email from Michael
                                         DOJGrayR_0000018733
 350 Singleton to Mark Levine - Kingdom
     Health KJ Gray Timeline
     United States’ Exhibit List—Page 13
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                                                PRODUCTION                DATE
GX              DESCRIPTION
                                                   BATES              ADMIT   N/ADM
     2023.09.29 Email from Michael
                                         DOJGrayR_0000018734
     Singleton to Mark Levine - Kingdom
350A Health KJ Gray Timeline -
     Attachment
     2023.10.13 Email from Keith Gray
                                         DOJGrayR_0000002603-
     to Michael Singleton, CC Shane
 351 Wheeler - RE Tax Return Update & DOJGrayR_0000002677
     Questions
     2023.10.15 Letter from Clifton
                                         DOJGrayR_0000002482-
 352 Larson Allen LLP to Keith Gray -    DOJGrayR_0000002490
     Keith J. Gray Holdings LLC
     2023.10.16 Email from Michael
                                         DOJGrayR_0000019543-
     Singleton to Keith Gray, CC Shane
 353 Wheeler and Mark Levine - KJ Gray DOJGrayR_0000019546
     Questions & Return Updates
     2023.10.25 Shareholder's Copy of KJ
                                         DOJGrayR_0000003194-
 354 Gray Holdings 2021 Tax Return
                                         DOJGrayR_0000003208
     2021.05.13 Email from Keith Gray
 355                                     DOJGrayR_0000661962
     to Corey Dudley – 1 of 6
      2021.05.13 Email from Keith Gray
355A                                     DOJGrayR_0000661963
     to Corey Dudley – 1 of 6 –
     Attachment
     2021.05.13 Email from Keith Gray
 356                                     DOJGrayR_0000660509
     to Corey Dudley – 2 of 6
      2021.05.13 Email from Keith Gray
356A                                     DOJGrayR_0000660510
     to Corey Dudley – 2 of 6 -
     Attachment
     2021.05.13 Email from Keith Gray
 357                                     DOJGrayR_0000662657
     to Corey Dudley – 3 of 6
      2021.05.13 Email from Keith Gray
357A                                     DOJGrayR_0000662658
     to Corey Dudley – 3 of 6 -
     Attachment
     2021.05.13 Email from Keith Gray
 358                                     DOJGrayR_0000658041
     to Corey Dudley – 4 of 6
      2021.05.13 Email from Keith Gray
358A                                     DOJGrayR_0000658042
     to Corey Dudley – 4 of 6 -
     Attachment
     2021.05.13 Email from Keith Gray
 359                                     DOJGrayR_0000662982
     to Corey Dudley – 5 of 6
      2021.05.13 Email from Keith Gray
359A                                     DOJGrayR_0000662983
     to Corey Dudley – 5 of 6 –
     Attachment
     2021.05.13 Email from Keith Gray
 360                                     DOJGrayR_0000652294
     to Corey Dudley – 6 of 6
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GX                DESCRIPTION
                                                     BATES              ADMIT   N/ADM
      2021.05.13 Email from Keith Gray
360A                                         DOJGrayR_0000652295
     to Corey Dudley – 6 of 6 –
     Attachment
     2022.04.20 Email from Keith Gray
 361                                         DOJGrayR_0000650171
     to Bea Moore – Longer Call
      2022.04.20 Email from Keith Gray
361A                                         DOJGrayR_0000650172
     to Bea Moore – Longer Call -
     Attachment
     2022.07.15 Email from Richard
 362                                         DOJGrayR_0000603801
     Straight to Keith Gray – FW Doctor
     Call – Important
      2022.07.15 Email from Richard
362A                                         DOJGrayR_0000603807
     Straight to Keith Gray – FW Doctor
     Call – Important - Attachment 1
      2022.07.15 Email from Richard
362B                                         DOJGrayR_0000603808
     Straight to Keith Gray – FW Doctor
     Call – Important – Attachment 2

    Business Record Affidavit – for GX
363                                      DOJGRAYS_00053782
    323, 341, 342, 343, 344, 345, 346,
    347, 347A, 348, 348A, 348B, 348C,
    348D, 349, 350, 350A, 351, 352,
    353, 354
                  Text Messages, Signal, and WhatsApp Communications
    Wohrman-Straight WhatsApps
401                                     DOJGrayR_0000708996 –
                                             DOJGrayR_0000709010
     2020.10.14 WhatsApp From
401A                                         DOJGrayR_0000708996
     Wohrman to Straight
     2020.10.15 WhatsApp From
401B                                         DOJGrayR_0000708996
     Wohrman to Straight
     2020.10.19 WhatsApp From Straight
401C                                         DOJGrayR_0000708996
     to Wohrman
     2020.11.10 WhatsApp From Straight
401D                                         DOJGrayR_0000709004
     to Wohrman
     2020.11.10 WhatsApp From Straight
401E                                         DOJGrayR_0000709004
     to Wohrman
     2020.11.12 WhatsApp From
401F                                         DOJGrayR_0000709005
     Wohrman to Straight
401G 2020.11.12 WhatsApp From
     Straight to Wohrman                     DOJGrayR_0000709005

       2020.11.16 WhatsApp From
401H                                         DOJGrayR_0000709005
       Straight to Wohrman
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                                                  PRODUCTION                DATE
GX                DESCRIPTION
                                                     BATES              ADMIT   N/ADM
     2020.11.18 WhatsApp From
401I                                         DOJGrayR_0000709005
     Wohrman to Straight
     2020.11.24 WhatsApp From
401J Straight to Wohrman                     DOJGrayR_0000709006

     2020.11.24 WhatsApp From
401K                                         DOJGrayR_0000709006
     Straight to Wohrman
     2020.11.25 WhatsApp From
401L                                         DOJGrayR_0000709006
     Straight to Wohrman
     2020.12.08 WhatsApp From
401M Straight to Wohrman                     DOJGrayR_0000709006

     2020.12.29 WhatsApp From
401N Wohrman to Straight                     DOJGrayR_0000709010

     2020.12.31 WhatsApp From
401O Wohrman to Straight                     DOJGrayR_0000708997

     2021.01.11 WhatsApp From
401P Straight to Wohrman                     DOJGrayR_0000708998

     2021.01.13 WhatsApp From
401Q Straight to Wohrman                     DOJGrayR_0000708998

     2021.01.14 WhatsApp From
401R Straight to Wohrman                     DOJGrayR_0000708998

     2021.02.26 WhatsApp From
401S Straight to Wohrman                     DOJGrayR_0000709001

     2021.02.26 WhatsApp From
401T Straight to Wohrman                     DOJGrayR_0000709001

     2021.02.26 WhatsApp From
401U Straight to Wohrman                     DOJGrayR_0000709001

     2021.03.02 WhatsApp From
401V Wohrman to Straight                     DOJGrayR_0000709001

     2021.03.11 WhatsApp From
401W Straight to Wohrman                     DOJGrayR_0000709002




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                                                 PRODUCTION                 DATE
GX               DESCRIPTION
                                                    BATES               ADMIT   N/ADM
      Wohrman-Straight Signal
                                            DOJGrayR_0000710267 –
402
                                             DOJGrayR_0000710281
     2021.07.15 Signal From Wohrman
402A to Straight                            DOJGrayR_0000710273

     2021.07.22 Signal From Straight to
402B Wohrman                                DOJGrayR_0000710274

      Wohrman-Straight Texts
                                            DOJGrayR_0000708880 –
403
                                             DOJGrayR_0000708882
     2020.10.13 Text From Wohrman to
403A Straight                               DOJGrayR_0000708880

      Wohrman-Gray WhatsApp                 DOJGrayR_0000708992 –
404                                          DOJGrayR_0000708995
     2021.01.26 WhatsApp From Gray
404A to Wohrman                             DOJGrayR_0000708992

     2021.01.28 WhatsApp From Gray
404B to Wohrman                             DOJGrayR_0000708992

     2021.01.29 WhatsApp From Gray
404C to Wohrman                             DOJGrayR_0000708992

     2021.02.01 WhatsApp From Gray
404D to Wohrman                             DOJGrayR_0000708992

     2021.02.02 WhatsApp From Gray
404E to Wohrman                             DOJGrayR_0000708992

     2021.02.05 WhatsApp From Gray
404F to Wohrman                             DOJGrayR_0000708992

     2021.02.08 WhatsApp From Gray
404G to Wohrman                             DOJGrayR_0000708992

     2021.02.10 WhatsApp From Gray
404H to Wohrman                             DOJGrayR_0000708992

     2021.02.11 WhatsApp From
404I Wohrman to Gray                        DOJGrayR_0000708993


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                                                 PRODUCTION                 DATE
GX               DESCRIPTION
                                                    BATES               ADMIT   N/ADM
     2021.02.19 WhatsApp From Gray
404J to Wohrman                             DOJGrayR_0000708994

     2021.02.23 WhatsApp From Gray
404K to Wohrman                             DOJGrayR_0000708994

     2021.02.25 WhatsApp From Gray
404L to Wohrman                             DOJGrayR_0000708994

     2021.03.01 WhatsApp From
404M Wohrman to Gray                        DOJGrayR_0000708994

     2021.03.01 WhatsApp From Gray
404N to Wohrman                             DOJGrayR_0000708995

     2021.03.04 WhatsApp From Gray
404O to Wohrman                             DOJGrayR_0000708995

     2021.03.05 WhatsApp From Gray
404P to Wohrman                             DOJGrayR_0000708995

     2021.03.11 WhatsApp From
404Q Wohrman to Gray                        DOJGrayR_0000708995

      Wohrman-Gray Signal
                                            DOJGrayR_0000710239 –
405
                                             DOJGrayR_0000710260
      2021.03.18 Signal From Gray to
405-1 Wohrman                               DOJGrayR_0000710239

      2021.03.25 Signal From Gray to
405-2 Wohrman                               DOJGrayR_0000710239

      2021.04.01 Signal From Wohrman
405-3 to Gray                               DOJGrayR_0000710239

      2021.04.06 Signal From Wohrman
405-4 to Gray                               DOJGrayR_0000710239

      2021.04.08 Signal From Gray to
405-5 Wohrman                               DOJGrayR_0000710240

      2021.04.16 Signal From Gray to
405-6 Wohrman                               DOJGrayR_0000710240

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                                                PRODUCTION                DATE
GX              DESCRIPTION
                                                   BATES              ADMIT   N/ADM
      2021.04.22 Signal From Wohrman
405-7 to Gray                              DOJGrayR_0000710240

      2021.04.26 Signal From Gray to
405-8 Wohrman                              DOJGrayR_0000710241

      2021.04.29 Signal From Gray to
405-9 Wohrman                              DOJGrayR_0000710241

     2021.04.29 Signal From Wohrman
405- to Gray                               DOJGrayR_0000710241
 10
     2021.05.05 Signal from Wohrman
405- to Gray                               DOJGrayR_0000710241
 11
     2021.05.13 Signal From Gray to
405- Wohrman                               DOJGrayR_0000710241
 12
     2021.05.20 Signal From Wohrman
405- to Gray                               DOJGrayR_0000710242
 13
     2021.05.20 Signal From Gray to
405- Wohrman                               DOJGrayR_0000710242
 14
     2021.05.27 Signal From Gray to
405-                                       DOJGrayR_0000710242
     Wohrman
 15
     2021.06.03 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710242
 16
     2021.06.10 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710243
 17
     2021.06.10 Signal From Wohrman
405-
     to Gray                               DOJGrayR_0000710243
 18
     2021.06.17 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710243
 19
     2021.06.22 Signal From Wohrman
405-
     to Gray                               DOJGrayR_0000710243
 20
     2021.06.23 Signal From Wohrman
405-
     to Gray                               DOJGrayR_0000710243
 21
     2021.06.23 Signal From Wohrman
405-
     to Gray                               DOJGrayR_0000710243
 22

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GX              DESCRIPTION
                                                   BATES              ADMIT   N/ADM
     2021.06.23 Signal From Wohrman
405-
     to Gray                               DOJGrayR_0000710243
 23
     2021.06.24 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710243
 24
     2021.07.01 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710244
 25
     2021.07.08 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710244
 26
     2021.07.21 Signal From Wohrman
405-
     to Gray                               DOJGrayR_0000710244
 27
     2021.07.15 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710244
 28
     2021.07.16 Signal From Wohrman
405-
     to Gray                               DOJGrayR_0000710244
 29
     2021.07.23 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710246
 30
     2021.07.29 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710246
 31
     2021.07.29 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710246
 32
     2021.08.05 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710246
 33
     2021.08.12 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710247
 34
     2021.08.21Signal From Wohrman
405-
     to Gray                               DOJGrayR_0000710247
 35
     2021.08.19 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710247
 36
     2021.08.25 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710248
 37
     2021.08.26 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710248
 38
     2021.09.02 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710248
 39
     2021.09.09 Signal From Gray to
405-
     Wohrman                               DOJGrayR_0000710248
 40
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GX              DESCRIPTION
                                                   BATES              ADMIT   N/ADM
     2021.09.16 Signal From Gray to
405-                                       DOJGrayR_0000710249
     Wohrman
 41
     2021.09.16 Signal From Wohrman
405-                                       DOJGrayR_0000710249
     to Gray
 42
     2021.09.16 Signal From Wohrman
405-                                       DOJGrayR_0000710250
     to Gray
 43
     2021.09.23 Signal From Gray to
405-                                       DOJGrayR_0000710251
     Wohrman
 44
     2021.09.29 Signal From Gray to
405-                                       DOJGrayR_0000710252
     Wohrman
 45
     2021.09.29 Signal From Gray to
405-                                       DOJGrayR_0000710252
     Wohrman
 46
     2021.09.29 Signal From Wohrman
405-                                       DOJGrayR_0000710252
     to Gray
 47
     2021.09.30 Signal From Gray to
405-                                       DOJGrayR_0000710252
     Wohrman
 48
     2021.10.07 Signal From Gray to
405-                                       DOJGrayR_0000710253
     Wohrman
 49
     2021.10.14 Signal From Gray to
405-                                       DOJGrayR_0000710253
     Wohrman
 50
     2021.10.14 Signal From Gray to
405-                                       DOJGrayR_0000710253
     Wohrman
 51
     2021.10.21 Signal From Gray to
405-                                       DOJGrayR_0000710256
     Wohrman
 52
     2021.10.28 Signal From Wohrman
405-                                       DOJGrayR_0000710256
     to Gray
 53
     2021.11.04 Signal From Gray to
405-                                       DOJGrayR_0000710256
     Wohrman
 54
     2021.11.04 Signal From Wohrman
405-                                       DOJGrayR_0000710257
     to Gray
 55
     2021.11.12 Signal From Gray to
405-                                       DOJGrayR_0000710257
     Wohrman
 56
     2021.11.12 Signal From Wohrman
405-                                       DOJGrayR_0000710257
     to Gray
 57
     2021.11.18 Signal From Gray to
405-                                       DOJGrayR_0000710257
     Wohrman
 58
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GX              DESCRIPTION
                                                   BATES              ADMIT   N/ADM
     2021.11.18 Signal From Gray to
405-                                       DOJGrayR_0000710257
     Wohrman
 59
     2021.11.26 Signal From Gray to
405-                                       DOJGrayR_0000710258
     Wohrman
 60
     2021.12.02 Signal From Gray to
405-                                       DOJGrayR_0000710258
     Wohrman
 61
     2021.12.09 Signal From Gray to
405-                                       DOJGrayR_0000710258
     Wohrman
 62
     2021.12.16 Signal From Gray to
405-                                       DOJGrayR_0000710258
     Wohrman
 63
     2021.12.23 Signal From Gray to
405-                                       DOJGrayR_0000710259
     Wohrman
 64
     2021.12.23 Signal From Gray to
405-                                       DOJGrayR_0000710259
     Wohrman
 65
     2021.12.30 Signal From Gray to
405-                                       DOJGrayR_0000710259
     Wohrman
 66
     2022.01.06 Signal From Gray to
405-                                       DOJGrayR_0000710259
     Wohrman
 67
     2022.01.11 Signal From Wohrman
405-                                       DOJGrayR_0000710259
     to Gray
 68
     2022.01.11 Signal From Wohrman
405-                                       DOJGrayR_0000710259
     to Gray
 69
     2022.01.12 Signal From Gray to
405-                                       DOJGrayR_0000710260
     Wohrman
 70
     2022.01.12 Signal From Wohrman
405-                                       DOJGrayR_0000710260
     to Gray
 71
     2022.01.13 Signal From Gray to
405-                                       DOJGrayR_0000710260
     Wohrman
 72
     2022.01.13 Signal From Wohrman
405-                                       DOJGrayR_0000710260
     to Gray
 73
     2022.01.20 Signal From Gray to
405-                                       DOJGrayR_0000710260
     Wohrman
 74
     2022.01.27 Signal From Gray to
405-                                       DOJGrayR_0000710260
     Wohrman
 75
     2022.02.03 Signal From Gray to
405-                                       DOJGrayR_0000710261
     Wohrman
 76
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GX              DESCRIPTION
                                                   BATES              ADMIT   N/ADM
     2022.02.10 Signal From Gray to
405-                                       DOJGrayR_0000710261
     Wohrman
 77
     2022.02.10 Signal From Wohrman
405-                                       DOJGrayR_0000710261
     to Gray
 78
     2022.02.19 Signal From Wohrman
405-                                       DOJGrayR_0000710261
     to Gray
 79
     2022.02.19 Signal From Wohrman
405-                                       DOJGrayR_0000710261
     to Gray
 80
     2022.02.19 Signal From Gray to
405-                                       DOJGrayR_0000710261
     Wohrman
 81
     2022.02.21 Signal From Wohrman
405-                                       DOJGrayR_0000710261
     to Gray
 82
     2022.02.21 Signal From Gray to
405-                                       DOJGrayR_0000710262
     Wohrman
 83
     2022.02.21 Signal From Wohrman
405-                                       DOJGrayR_0000710262
     to Gray
 84
     2022.02.21 Signal From Gray to
405-                                       DOJGrayR_0000710262
     Wohrman
 85
     2022.02.24 Signal From Gray to
405-                                       DOJGrayR_0000710262
     Wohrman
 86
     2022.03.03 Signal From Gray to
405-                                       DOJGrayR_0000710263
     Wohrman
 87
     2022.03.10 Signal From Gray to
405-                                       DOJGrayR_0000710263
     Wohrman
 88
     2022.03.17 Signal From Gray to
405-                                       DOJGrayR_0000710263
     Wohrman
 89
     2022.03.22 Signal From Wohrman
405-                                       DOJGrayR_0000710263
     to Gray
 90
     2022.03.24 Signal From Gray to
405-                                       DOJGrayR_0000710264
     Wohrman
 91
     2022.03.31 Signal From Gray to
405-                                       DOJGrayR_0000710264
     Wohrman
 92
     2022.04.07 Signal From Gray to
405-                                       DOJGrayR_0000710264
     Wohrman
 93
     2022.04.14 Signal From Gray to
405-                                       DOJGrayR_0000710264
     Wohrman
 94
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                                                  PRODUCTION                 DATE
GX                DESCRIPTION
                                                     BATES               ADMIT   N/ADM
     2022.04.21 Signal From Gray to
405-                                         DOJGrayR_0000710265
     Wohrman
 95
     Wohrman-Gray Texts                      DOJGrayR_0000708876 –
406
                                             DOJGrayR_0000708992
     2021.01.15 Text From Gray to
406A                                         DOJGrayR_0000708876
     Wohrman
     2020.12.30 Text From Gray to
406B                                         DOJGrayR_0000708876
     Wohrman
     2021.01.22 Text From Gray to
406C                                         DOJGrayR_0000708878
     Wohrman
     2021.02.23 Text From Gray to
406D                                         DOJGrayR_0000708878
     Wohrman
     2022.01.20 Text From Wohrman to
406E                                         DOJGrayR_0000708878
     Gray
     Wohrman-Decker Signal
 407                                         DOJGrayR_0000710286 –
                                             DOJGrayR_0000710294
      2021.02.01 Text From Decker to
407A                                         DOJGrayR_0000710286
      Wohrman
      2021.02.10 Text From Wohrman to
407B                                         DOJGrayR_0000710286
      Decker
      2021.02.25 Text From Decker to
407C                                         DOJGrayR_0000710286
      Wohrman
      2021.03.01 Text From Decker to
407D                                         DOJGrayR_0000710288
      Wohrman
      2021.03.10 Text From Decker to
407E                                         DOJGrayR_0000710288
      Wohrman
      2021.03.24 Text From Wohrman to
407F                                         DOJGrayR_0000710289
      Decker
      2021.03.30 Text From Decker to
407G                                         DOJGrayR_0000710290
      Wohrman
      2021.04.07 Text From Wohrman to
407H                                         DOJGrayR_0000710291
      Decker
      2021.04.11 Text From Wohrman to
 407I                                        DOJGrayR_0000710291
      Decker
      2021.04.13 Text From Wohrman to
407J                                         DOJGrayR_0000710292
      Decker
      2021.04.14 Text From Decker to
407K                                         DOJGrayR_0000710292
      Wohrman
      2021.04.14 Text From Wohrman to
407L                                         DOJGrayR_0000710293
      Decker
      2021.04.28 Text From Decker to
407M                                         DOJGrayR_0000710294
      Wohrman

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                                                  PRODUCTION                 DATE
GX                DESCRIPTION
                                                     BATES               ADMIT   N/ADM
       2021.05.02 Text From Decker to
407N                                         DOJGrayR_0000710294
       Wohrman
       Wohrman-Decker Texts
408                                          DOJGrayR_0000710295 –
                                       DOJGrayR_0000710306
     2021.10.15 Text From Decker to
408A                                   DOJGrayR_0000710304
     Wohrman
     2021.10.17 Text From Wohrman to
408B                                   DOJGrayR_0000710304
     Decker
     2020.11.20 Text From Wohrman to
408C                                   DOJGrayR_0000710304
     Decker
     2021.10.18 Text From Decker to
408D                                   DOJGrayR_0000710304
     Wohrman
     2021.10.18 Text From Wohrman to
408E                                   DOJGrayR_0000710305
     Decker
     2021.12.06 Text From Wohrman to
408F                                   DOJGrayR_0000710306
     Decker
     2021.12.06 Text From Decker to
408G                                   DOJGrayR_0000710306
     Wohrman
     2021.12.10 Text From Decker to
408H                                   DOJGrayR_0000710306
     Wohrman
     2021.12.28 Text From Decker to
408I                                   DOJGrayR_0000710306
     Wohrman
     2021.12.29 Text From Decker to
408J                                   DOJGrayR_0000710296
     Wohrman
     2021.12.29 Text From Decker to
408K                                   DOJGrayR_0000710296
     Wohrman
     2022.01.03 Text From Decker to
408L                                   DOJGrayR_0000710296
     Wohrman
                                    Medical Records
     Breaux, Celinda Requisition
                                       DOJGrayR_0000090436
 501
     Breaux, Celinda Test Results     DOJGrayR_0000108449 –
502                                          DOJGrayR_0000108451
       Clowney, Dennis Requisition
                                             DOJGrayR_0000089898
503
       Clowney, Dennis Test Results          DOJGrayR_0000109234 –
504                                           DOJGrayR_0000109236
       Cooper, Earle Requisition             DOJGrayR_0000105317 –
505                                           DOJGrayR_0000105319
       Cooper, Earle Test Results            DOJGrayR_0000109343 –
506                                          DOJGrayR_0000109345
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GX               DESCRIPTION
                                                  BATES                 ADMIT   N/ADM
      Davis, Judy Requisition               DOJGrayR_0000106466 –
                                             DOJGrayR_0000106468
507
      Davis, Judy Test Results              DOJGrayR_0000086810 –
508                                          DOJGrayR_0000086812
      Duckwiler, Douglas Requisition        DOJGrayR_0000578991 –
509                                          DOJGrayR_0000578993
      Duckwiler, Douglas Test Results       DOJGrayR_0000578994 –
510                                          DOJGrayR_0000578996
      Fenner, Ann Requisition               DOJGrayR_0000092468 –
511                                          DOJGrayR_0000092469
      Fenner, Ann Test Results              DOJGrayR_0000087460 –
512                                          DOJGrayR_0000087462
      Foster, Tanya Requisition             DOJGrayR_0000578943 –
513                                          DOJGrayR_0000578945
      Foster, Tanya Test Results            DOJGrayR_0000578946 –
514                                         DOJGrayR_0000578956
      Frazier, James Requisition            DOJGrayR_00000105573
                                                     –
515                                         DOJGrayR_00000105575
      Frazier, James Test Results           DOJGray_0000087652 –
516                                          DOJGray_0000087654
      Harvey, Emily Requisition             DOJGrayR_0000091477 –
517                                         DOJGrayR_0000091478
      Harvey, Emily Test medical            DOJGRAYS_00053845 –
      records
518                                          DOJGRAYS_00053865
      Hobson, Patricia Requisition          DOJGrayR_0000092765 –
519                                          DOJGrayR_0000092766
      Hobson, Patricia Test Results         DOJGrayR_0000088674 –
520                                          DOJGrayR_0000088676
      McCuin, Terry Requisition             DOJGrayR_0000092942 –
521                                         DOJGrayR_0000092944
      McCuin, Terry Medical records         DOJGRAYS_00032775 –
522                                          DOJGRAYS_00032802
     Business Record Affidavit – for
                                             DOJGRAYS_00032774
522A GX 522

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                                                 PRODUCTION                 DATE
GX               DESCRIPTION
                                                    BATES               ADMIT   N/ADM
      Mrosz, Barbara Requisition
                                            DOJGrayR_0000090136
523
      Mrosz, Barbara Test Results           DOJGray_0000094445 –
524                                          DOJGray_0000094447
      Murrell, Carita Cardiac Care Plan +    DOJGrayR_0000206289
      Requisition                                     –
525                                          DOJGrayR_0000206292
      Naylor, Amy Requisition               DOJGrayR_0000099127 –
                                            DOJGrayR_0000099129
526
      Naylor, Amy Medical records           DOJGRAYS_00032725 –
527                                          DOJGRAYS_00032766
     Business Record Affidavit – for
                                             DOJGRAYS_00032724
527A GX 527
     Nuckols, Herbert Requisition           DOJGrayR_0000092424 –
528                                          DOJGrayR_0000092425
      Nuckols, Herbert Test Results         DOJGrayR_0000094701 –
529                                         DOJGrayR_0000094703
      Rutherford, Dannie Requisition
                                            DOJGrayR_0000105017 –
530                                         DOJGrayR_0000105018
      Rutherford, Dannie Test Results
                                            DOJGrayR_0000095878 –
531                                         DOJGrayR_0000095880
      Schofield, Timothy Requisition
                                            DOJGrayR_0000097319 –
532                                         DOJGrayR_0000097320
      Schofield, Timothy Test Results
                                            DOJGrayR_0000096108 –
533                                         DOJGrayR_0000096111
      Spiars, Joanne Requisition            DOJGrayR_0000093447
                                                     –
534                                         DOJGrayR_0000093449
      Spiars, Joanne Medical records
                                             DOJGrayS_00032682 –
535                                          DOJGRAYS_00032719
     Business Record Affidavit – for
                                             DOJGRAYS_00032681
535A GX 535
     Tejada, Odulia Requisition             DOJGrayR_0000092531 –
536                                         DOJGrayR_0000092532

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                                              PRODUCTION                      DATE
GX               DESCRIPTION
                                                  BATES                   ADMIT   N/ADM
      Tejeda, Odulia Test Results           DOJGrayR_0000101661 –
537                                          DOJGrayR_0000101663
      Washington, Evelyn Requisition        DOJGrayR_0000104801 –
538                                          DOJGrayR_0000104803
      Washington, Evelyn Test Results       DOJGrayR_0000102271 –
539                                          DOJGrayR_0000102273
      Wierzbowski, John Requisition         DOJGrayR_0000093426 –
540                                          DOJGrayR_0000093427
      Wierzbowski, John Test Results        DOJGrayR_0000102524 –
541                                          DOJGrayR_0000102526
      Wiggins, Weldon Requisition
                                             DOJGrayR_0000089857
542
      Wiggins, Weldon Test Results
                                             DOJGrayR_0000102527
543
      Windham, Judy Requisition             DOJGrayR_0000091858 –
544                                         DOJGrayR_0000091859
      Windham, Judy medical records         DOJGRAYS_00032669 –
545                                          DOJGRAYS_00032672
     Business Record Affidavit – for
                                             DOJGRAYS_00032661
545A GX 545
     Arsenault, Aline Requisition
                                            DOJGrayR_0000442535-
546                                         DOJGrayR_0000442536
      White, Charles Requisition
                                            DOJGrayR_0000473431-
547                                         DOJGrayR_0000473432
      Muyskens, Jack Requisition
                                             DOJGrayR_0000368710
548
    Business Record Affidavit – for
                                             DOJGRAYS_00053969
    GX 502, 503, 504, 505, 506, 507,
    508, 511, 512, 515, 517, 520, 521,
    526, 528, 529, 531, 532, 533, 534,
    536, 537, 538, 539, 540, 541, 542,
549 543, 544
    Business Record Affidavit – for
                                             DOJGRAYS_00053967
    GX 302, 308, 308A, 546, 547, 548,
    803
550
                                Emails with AHS Invoice Attachments
    2020.11.25 Email from Scott
                                             DOJGrayR_0000121286
601 Wohrman to Richard Straight, CC
      United States’ Exhibit List—Page 28
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GX              DESCRIPTION
                                                   BATES              ADMIT   N/ADM
     Keith Gray and Dave Heneghan –
     AHS Invoice 000464
     2020.11.25 Email from Scott
                                           DOJGrayR_0000121287
     Wohrman to Richard Straight, CC
     Keith Gray and Dave Heneghan –
601A AHS Invoice 000464_attachment
     Intentionally Left Blank
 602
     2020.12.09 Email from Scott
                                           DOJGrayR_0000121124
     Wohrman to Richard Straight, CC
     Keith Gray and Dave Heneghan –
 603 Invoice 471
     2020.12.09 Email from Scott
                                           DOJGrayR_0000702831
     Wohrman to Richard Straight, CC
     Keith Gray and Dave Heneghan –
603A Invoice 471_attachment
     2020.12.23 Email from Scott
                                           DOJGrayR_0000121301
     Wohrman to Richard Straight and
 604 Dave Heneghan – Invoice 477
     2020.12.23 Email from Scott
                                           DOJGrayR_0000605629
     Wohrman to Richard Straight and
     Dave Heneghan – Invoice
604A 477_attachment
     2021.01.05 Email from Scott
                                           DOJGrayR_0000120661
     Wohrman to Richard Straight, CC
 605 Dave Heneghan – Invoice 482
     2021.01.05 Email from Scott
                                           DOJGrayR_0000575569
     Wohrman to Richard Straight, CC
     Dave Heneghan – Invoice
605A 482_attachment
     2021.01.15 Email from Richard
                                           DOJGrayR_0000622481
     Straight to Betsy Armstrong and
     Keith Gray – FW: AHS Invoice
 606 000488
     2021.01.15 Email from Richard
                                           DOJGrayR_0000701282
     Straight to Betsy Armstrong and
     Keith Gray – FW: AHS Invoice
606A 000488_attachment
     2021.01.22 Email from Scott
                                           DOJGrayR_0000119291
     Wohrman to Keith Gray, CC Dave
 607 Heneghan – AHS Invoice 000492
     202021.01.22 Email from Scott
                                           DOJGrayR_0000609940
     Wohrman to Keith Gray, CC Dave
     Heneghan – AHS Invoice
607A 000492_attachment
     United States’ Exhibit List—Page 29
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GX               DESCRIPTION
                                                    BATES                ADMIT   N/ADM
     202021.01.26 Email from Scott
                                              DOJGrayR_0000119574
     Wohrman to Keith Gray, CC Dave
 608 Heneghan – AHS Invoice 000496
     202021.01.26 Email from Scott
                                              DOJGrayR_0000654 736
     Wohrman to Keith Gray, CC Dave
     Heneghan – AHS Invoice
608A 000496_attachment
     2021.01.29 Email from Scott
                                              DOJGrayR_0000119960
     Wohrman to Keith Gray, CC Dave
     Heneghan – AHS Invoice 000498
 609 (Count 2)
     2021.01.29 Email from Scott
                                              DOJGrayR_0000618234
     Wohrman to Keith Gray, CC Dave
     Heneghan – AHS Invoice 000498
609A _attachment (Count 2)
     2021.02.02 Email from Scott
                                              DOJGrayR_0000119361
     Wohrman to Keith Gray, CC Dave
     Heneghan – AHS Invoice 000501
 610 Revised
     2021.02.02 Email from Scott
                                              DOJGrayR_0000608530
     Wohrman to Keith Gray, CC Dave
     Heneghan – AHS Invoice 000501
610A Revised_attachment
     2021.02.05 Email from Scott
                                              DOJGrayR_0000165328
     Wohrman to Keith Gray, CC Dave
 611 Heneghan – AHS Invoice 000507
     2021.02.05 Email from Scott
                                              DOJGrayR_0000554440
     Wohrman to Keith Gray, CC Dave
     Heneghan – AHS Invoice
611A 000507_attachment
     2021.02.11 Email from Scott
                                              DOJGrayR_0000164556
     Wohrman to Keith Gray, CC Dave
 612 Heneghan – AHS Invoice 511
     2021.02.11 Email from Scott
                                              DOJGrayR_0000664598
     Wohrman to Keith Gray, CC Dave
     Heneghan – AHS Invoice
612A 511_attachment
                                            Vehicle Records
      Sewell Lexus of Dallas - Keith          DOJGRAYS_00046966
701
      Gray Records (Count 9)                            –
                                              DOJGRAYS_00047023
     Sewell Lexus of Dallas Business
701A                                          DOJGRAYS_00000062
     Records Affidavit signed
     12/19/2022 – for GX 701
      United States’ Exhibit List—Page 30
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                                               PRODUCTION                    DATE
GX               DESCRIPTION
                                                  BATES                  ADMIT   N/ADM
      Texas Vehicle Exchange 2.26.22         DOJGRAYS_00046922
702
      (Count 7)                                     –
                                              DOJGRAYS_00046938
      Texas Vehicle Exchange 3.2.22          DOJGRAYS_00046939
703
      (Count 8)                                     –
                                              DOJGRAYS_00046959
    Texas Vehicle Exchange Business
704                                           DOJGRAYS_00000061
    Records Affidavit signed 2/6/2023
    Photographs of 2022 Dodge Ram            DOJGRAYS_00055922
705
    1500 TRX                                        –
                                              DOJGRAYS_00055935
      Photographs of 2022 Lexus LS500        DOJGRAYS_00055936
706
                                                    –
                                             DOJGRAYS_00055954
      Photographs of 2021 Mercedes-         DOJGRAYS_00055955-
707
      Benz AMG G 63
                                              DOJGRAYS_00055968
                                            Miscellaneous
    Marketing Services Agreement
801                                          DOJGrayR_0000166294 -
    signed by Keith Gray on
                                             DOJGrayR_0000166313
    11/16/2020
    Financial Terms, Business
802                                          DOJGrayR_0000166314 -
    Associate Agreement, and
                                             DOJGrayR_0000166317
    Compliance Certificate dated
    11/16/2020
    Parameno Health Services LLC –
803                                          DOJGrayR_0000345427
    General Ledger – Summit dated
    10/26/2022
    2022.10.07 Kingdom Health Lab             DOJGrayS_00054763 –
804
    CMS Rebuttal Response
                                               DOJGrayS_00054766
      2022.10.07 Axis Professional Labs       DOJGrayS_00054709 –
805
      CMS Rebuttal Response
                                               DOJGrayS_00054711
      2022.08.19 Axis Professional Labs       DOJGrayS_00054713 –
806
      CMS Payment Suspension Letter
                                               DOJGrayS_00054715
    2022.08.19 Kingdom Health Lab             DOJGrayS_00054768 –
807
    CMS Payment Suspension Letter
                                               DOJGrayS_00054770
    2022.09.02 Axis Professional Labs         DOJGrayS_00054723 –
808
    Rebuttal Statement Regarding
                                              DOJGrayS_00054725
    Notification of Suspension of
    Medicare Payments
      United States’ Exhibit List—Page 31
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GX               DESCRIPTION
                                                 BATES                     ADMIT   N/ADM
      2022.09.02 Kingdom Health             DOJGrayS_00054780 –
809
      Laboratory Rebuttal Statement
                                             DOJGrayS_00054782
      Regarding Notification of
      Suspension of Medicare Payments


                                                 Respectfully submitted,

                                                 CHAD MEACHAM
                                                 ACTING UNITED STATES ATTORNEY

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                                                 CHIEF, FRAUD SECTION

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